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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 TRINH THU NGUYEN,                              Case No. 21-cv-1325 (DWF/ECW)

           Plaintiff,                              DEFENDANT STATE FARM
                                                     MUTUAL AUTOMOBILE
 v.                                                 INSURANCE COMPANY’S
                                                  RESPONSE IN OPPOSITION TO
 STATE FARM MUTUAL                              PLAINTIFF’S OBJECTION TO THE
 AUTOMOBILE INSURANCE                             MAGISTRATE JUDGE’S ORDER
 COMPANY,                                        DENYING PLAINTIFF’S MOTION
                                                TO MODIFY THE FIRST AMENDED
            Defendant.                           PRETRIAL SCHEDULING ORDER
                                                  AND MOTION TO AMEND THE
                                                         COMPLAINT

       Plaintiff waited six months after the deadline in the scheduling order to seek leave

to amend the schedule so she could try to dramatically expand this case to include entirely

new theories and claims. Magistrate Judge Thorson issued a well-reasoned decision, after

a hearing, denying that request. Now, armed with nothing relevant or new, Plaintiff is

trying to revive those efforts through this objection.

       This is Plaintiff’s third unjustified attempt at shoehorning completely new legal

theories into her Complaint. First, Plaintiff sought to amend her Complaint over six months

after she discovered the information giving rise to the alleged new claims and four months

after State Farm told Plaintiff’s counsel that it would not consent to the Amended

Complaint. ECF Nos. 62, 75. That was unsuccessful. ECF No. 86.

       Next, Plaintiff filed a motion trying to consolidate this case with another putative

class action, filed in this Court six months ago. ECF No. 80. Hours after State Farm filed
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a response to Plaintiff’s motion to consolidate, Plaintiff withdrew her motion. ECF No.

89.

       And now, Plaintiff objects to Magistrate Judge Thorson’s decision denying her

motion to modify the scheduling order and amend the Complaint. In her objection,

however, Plaintiff fails to show that Magistrate Judge Thorson’s decision was clearly

erroneous or contrary to the law. In any event, Magistrate Judge Thorson’s account of the

evidence is plausible in light of the record, and therefore, this Court may not reverse it.

                                      BACKGROUND

       On May 4, 2021, Plaintiff Trinh Nguyen (“Plaintiff”) filed this case in state court.

State Farm Mutual Automobile Insurance Company (“State Farm”) removed the case. ECF

No. 1-1. The Complaint asserts two counts: a count for breach of contract and a count for

Statutory Bad Faith, each alleging that State Farm failed to pay certain replacement fees

allegedly owed on Plaintiff’s total loss claim. ECF No. 1-1, ¶¶ 61–62, 72–73. Plaintiff also

sought to represent a class of Minnesota State Farm insureds who made total loss claims. Id.

at ¶ 40. On July 23, 2021, State Farm answered the Complaint. ECF No. 16.

       Plaintiff served her first request for production of documents and first set of

interrogatories on October 12, 2021. ECF No. 28. State Farm served its responses to

Plaintiff’s First Request to Produce and Answers to Interrogatories on December 3, 2021,

after the parties agreed to extend State Farm’s response deadline.1 Id. On December 15,

2021, Plaintiff filed an unopposed Motion to Extend the Deadline to Amend the Pleadings


       1
        Plaintiff’s representation that State Farm did not produce “a single document or
response to any of the interrogatory requests” is simply false. Obj. at ¶ 6.


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(ECF No. 28), which was granted on December 20, 2021. ECF No. 30. On January 19,

2022, Plaintiff filed a second unopposed Motion to Extend the Deadline to Amend the

Pleadings (ECF No. 33), which was granted on January 24, 2022. ECF No. 24.

        On February 8, 2022, the Court issued the First Amended Pretrial Scheduling Order

(“Scheduling Order”), setting March 21, 2022 as the deadline to amend the pleadings and

December 29, 2022 as the close of fact discovery. ECF No. 41. The Scheduling Order

remains the operative scheduling order in this case, and Plaintiff has not moved to extend

any deadlines therein since January 19, 2022.

        On February 14, 2022, State Farm produced documents including: (1) Plaintiff’s

claim file; and (2) Plaintiff’s certified Policy. ECF No. 64 at pp. 6–7, 15–16. Plaintiff’s

claim       file   included   her   Autosource      Market-Driven      Valuation    report

(NGUYEN_00001454- NGUYEN_00001463),2 which states that State Farm’s valuation

vendor “adjusted [advertised prices] to account for typical negotiation.” ECF No. 63 (Ex.

A at NGUYEN_00001458); see also ECF No. 62-1 at ¶¶ 9–11, 35. Four days later, on

February 18, 2022, Plaintiff filed a Motion to Compel Discovery. ECF No. 44. On March

4, 2022, Plaintiff informed the Court that she was withdrawing that Motion. ECF No. 52.

        Nearly a year after this case was filed, another State Farm insured, Yasmin Varela

filed her own complaint. Varela v. State Farm Mutual Automobile Ins. Co., No. 0:22-cv-

00970 (D. Minn.) (“Varela”) at ECF No. 1. The Varela complaint also involves a total loss



        2
         Plaintiff includes the Autosource Market-Driven Valuation report
(NGUYEN_00001454- NGUYEN_00001463) as Exhibit A to her Proposed Amended
Complaint. See ECF Nos. 62-1 at ¶¶ 9–11, 35 & p. 27; 63.


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claim by a State Farm insured, but raises a different theory. Id. Plaintiff Varela seeks to

represent a class of Minnesota State Farm insureds “whose [total loss] claim[s] w[ere] settled

using the amount determined by a total loss valuation from Audatex based on the value of

comparable vehicles which took a deduction or adjustment for ‘typical negotiation.’” Id. at

¶ 61. On July 7, 2022, State Farm filed a motion to dismiss asserting a number of defenses

and grounds for dismissal under Fed. R. Civ. P. 12(b)(1) and 12(b)(6). Varela at ECF Nos.

16–18. That motion is fully briefed.

       On April 19, 2022—nearly a month after the Court’s deadline to amend the

pleadings (ECF No. 41), and more than two months after State Farm produced materials to

Plaintiff—counsel for Plaintiff emailed State Farm a proposed amended Complaint

asserting claims related to State Farm’s use of a typical negotiation adjustment. See ECF

No. 65-5 at p. 3. The next day, on April 20, 2022, counsel for State Farm informed

Plaintiff’s counsel that it would not consent to leave for filing an Amended Complaint

because the proposed Amended Complaint “s[ought] to add claims related to negotiation

adjustments” even though there was “already another proposed class action filed in

Minnesota with essentially identical claims- Varela v. State Farm.” ECF No. 65-5 at p. 1.

Plaintiff’s counsel did not respond to State Farm’s April 20, 2022 correspondence.

       The deadline in the Scheduling Order to file a motion for class certification in this

case was August 25, 2022. ECF No. 41 at p. 9. Plaintiff elected not to seek class certification

and instead filed an amended motion to modify the pretrial scheduling order and for leave to

amend the complaint to add typical negotiation adjustment claims (“Motion”). ECF No. 64,

pp. 16–17; ECF No. 62-2, ¶¶ 7–8, 11–12, 53, 62–69, 81–89. Plaintiff’s proposed amended


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complaint also included an additional and entirely new putative class of insureds, like the

Varela complaint, whose total loss claim payments “included a ‘typical negotiation’ or

similar adjustment.” Id. at ¶ 53.

       On October 7, 2022, Plaintiff filed a motion to consolidate this case with Varela. ECF

Nos. 80–82. That same day, after a hearing, Magistrate Judge Thorson denied Plaintiff’s

Motion for Leave to Amend (“Decision”). ECF No. 86 at p. 1 (“For the reasons stated on

the record, Plaintiff’s Amended Motion to Modify Pretrial Scheduling Order and Motion for

Leave to Amend Complaint (Doc. No. 62) is DENIED.”); see also Hearing Transcript

(“Tr.”) at 29:18–21. Magistrate Judge Thorson held a status conference following the

hearing, where “Plaintiff’s counsel [] confirmed that Plaintiff had elected not to file a motion

for class certification based on the claims in the operative complaint by the August 25, 2022

deadline set forth in the scheduling order.” ECF No. 87. As such, this case is left as single-

plaintiff case, and will not be a class action. On October 14, 2022, State Farm filed its

response to Plaintiff’s motion to consolidate. ECF No. 88. Hours later, Plaintiff withdrew

her motion. ECF No. 89.

       One week later, on October 21, 2022, Plaintiff filed this objection to Magistrate Judge

Thorson’s Decision (“Objection”). ECF No. 93.




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                                   LEGAL STANDARD

       The Court’s review of a magistrate judge’s order on a non-dispositive motion3 is

“extremely deferential.” Scott v. United States, 552 F. Supp. 2d 917, 919 (D. Minn. 2008);

Reko v. Creative Promotions, Inc., 70 F. Supp. 2d 1005, 1007 (D. Minn. 1999). Such an

order should be overruled only where it is “clearly erroneous or is contrary to law.” Fed.

R. Civ. P. 72(a); D. Minn. LR 72.2(a)(3). “A finding is ‘clearly erroneous’ when although

there is evidence to support it, the reviewing court on the entire evidence is left with the

definite and firm conviction that a mistake has been committed.” Chakales v. Comm’r of

Internal Revenue, 79 F.3d 726, 728 (8th Cir. 1996) (quoting Chase v. Comm’r of Internal

Revenue, 926 F.2d 737, 740 (8th Cir. 1991)). “A magistrate judge’s ruling is contrary to

law when it either fails to apply or misapplies pertinent statutes, case law or rules of

procedure.” Coons v. BNSF Ry. Co., 268 F. Supp. 3d 983, 991 (D. Minn. 2017)

(citing Edeh v. Midland Credit Mgmt., Inc., 748 F. Supp. 2d 1030, 1043 (D. Minn. 2010)).

This means that a district court should not reverse a magistrate judge’s decision in the non-

dispositive arena unless it is implausible “in light of the record viewed in its entirety,” even

if the reviewing court might have decided it differently in the first instance. Shank v.

Carleton Coll., 329 F.R.D. 610, 613 (D. Minn. 2019).



       3
        Plaintiff’s Motion is non-dispositive. See Bandy v. Comm’r of Corr., No. 13-2209,
2016 U.S. Dist. LEXIS 44573, at *28–29 (D. Minn. Mar. 31, 2016) (“Because a motion
for leave to amend the complaint is non-dispositive, the Court reviews the
Magistrate Judge’s order for clear error or errors of law.) (citing D. Minn. LR 72.2(a));
Bepex Int’l, LLC v. Hosokawa Micron, BV, No. 19-cv-2997, 2022 U.S. Dist. LEXIS
101165, at *4–5 (D. Minn. June 7, 2022) (applying clearly erroneous standard to overrule
objection to Magistrate Judge’s decision on a motion to amend scheduling order).

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                                          ARGUMENT

       The Court should overrule Plaintiff’s Objection and affirm Magistrate Judge

Thorson’s decision for two main reasons. First, Plaintiff cannot identify any clear error in

Magistrate Judge Thorson’s well-reasoned Decision. That is because Magistrate Judge

Thorson did not misapply any pertinent statutes, case law, or rules of procedure. In arguing

that Magistrate Judge Thorson somehow erred, Plaintiff’s Objection is nothing more than an

improper attempt at de novo review. Second, even if the District Court would have weighed

the evidence on the record differently, because Magistrate Judge Thorson’s account of the

evidence is plausible in light of the record, this Court cannot reverse Magistrate Judge

Thorson’s Decision. Thus, the Court should see right through Plaintiff’s third unjustified

effort to amend the Complaint long after the deadline to do so passed.

   1. THE COURT SHOULD OVERRULE PLAINTIFF’S OBJECTION BECAUSE
   MAGISTRATE JUDGE THORSON’S DECISION IS NOT CLEARLY
   ERRONEOUS OR CONTRARY TO LAW.

       Plaintiff does not even try to point to a clear error—that is, a “misappli[cation] [of]

pertinent statutes, case law or rules of procedure” in Magistrate Judge Thorson’s

Decision—because there isn’t one. Coons, 268 F. Supp. 3d at 991. Plaintiff admits that

her Objection rises and falls with her argument that “[t]he Magistrate Judge made

erroneous factual determinations.” Obj. at p. 7 (emphasis added); see also Obj. at p. 11

(emphasis added) (“The Magistrate Judge[’s] [finding] [] that Plaintiff ‘failed to establish

good cause due to a lack of diligence in seeking to meet the deadlines before they expired’

[] conflicts with the factual record”). Magistrate Judge Thorson’s ruling did not make any




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erroneous factual decisions and either way, that is not grounds to overturn a Magistrate

Judge’s decision on a non-dispositive Motion like Plaintiff’s.

       Plaintiff’s Objection is nothing more than a disagreement with Magistrate Judge

Thorson’s Decision. That is not a basis to reverse either.

          A. Plaintiff Misapplies the Law In Arguing Magistrate Judge Thorson
          Erred.

       Plaintiff argues that Magistrate Judge Thorson erred because (1) “Plaintiff did not

learn of the viability of a claim based on the use of the typical negotiation adjustment until

after the expiration of the deadline to amend the pleadings” (Obj. at p. 8); and because (2)

Plaintiff’s diligence “is well-documented in the record.” Obj. at p. 11. In making these

arguments, Plaintiff misapplies the good cause standard under Fed. R. Civ. P. 16(b)(4).

       A “party does not meet the good cause standard under Rule 16(b) if the relevant

information on which it based the amended claim was available to it earlier in the

litigation.” ECF No. 75 at p. 8 (quoting Grage v. N. States Power Co., No. 12-2590, 2014

U.S. Dist. LEXIS 194596, at *15 (D. Minn. Jan. 3, 2014)). But Plaintiff seems to be under

the impression the “relevant information” needed to amend a complaint includes evidence

of other parties winning on similar claims. Id. Specifically, Plaintiff argues that Magistrate

Judge Thorson’s observation that “Plaintiff appears to have had the facts needed to support

the amended complaint proposal by February” (Tr. at 27:22–23) “constitutes error”

because Plaintiff “did not learn of the viability” of her claim until after the deadline, and

because before then, she did not have “deposition testimony [from a different case]

confirm[ing] [] State Farm’s use and calculation [of the typical negotiation] adjustment,”



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or access to a motion to dismiss order in a different case that “bolstered Plaintiff’s counsel’s

opinion that Plaintiff had a viable claim” because it “illustrated that [typical negotiation

adjustment claims] could survive a motion to dismiss.” Obj. at pp. 4–5, 9.

       That is untenable. There cannot be a finding of good cause where a party blows

past a deadline to amend just because they were waiting for external confirmation that their

proposed claim was, in their view, viable or they found evidence that other plaintiffs were

winning in similar cases. See Morrison Enters., LLC v. Dravo Corp., 638 F.3d 594, 610

(8th Cir. 2011) (affirming district court’s denial of motion for leave to amend on ground

that a tactical choice not to pursue a claim earlier did not show diligence). Regardless, as

Magistrate Judge Thorson reasoned, “[e]ven if” Plaintiff did not “have the facts needed to

support the amended complaint proposal by February” 2022, Plaintiff “withdr[e]w[] [her]

motion to compel,” did “no[t] attempt to refile [it] before August 25th” 2022, and that “[i]f

there was more time needed to review discovery and [otherwise] evaluate” her typical

negotiation adjustment claims, “plaintiff knew exactly what to do” but still failed to

“amend the pretrial scheduling order before it expired.”           Tr. at 27:22–28:6. Thus,

Magistrate Judge Thorson did not clearly err when she found Plaintiff had the information

necessary to timely preserve her ability to amend her Complaint before the deadline

expired. Tr. at 27:22–28:6.

       Further, Plaintiff confuses the type of diligence required to meet her burden of good

cause. Plaintiff is required to show that she diligently tried, but was unable to comply with

the existing case schedule. Scheidecker v. Arvig Enters., 193 F.R.D. 630, 631–32 (D.

Minn. 2000). Plaintiff fails here entirely, confusingly pointing to alleged “diligence” in


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other unrelated contexts to argue that Magistrate Judge Thorson’s Decision “conflict[s]

with the factual record.” Obj. at p. 11. For example, she argues she was diligent in

conducting “research [on her] [] potential claim,” drafting, but not filing, a “proposed

amended complaint and motion to amend as early as April 20, 2022,” moving to extend

deadlines in previous (no longer in effect) scheduling orders, “attempt[ing] to confer with

Plaintiff to discuss moving the case forward,” and filing procedurally improper and

subsequently stricken correspondence with the Court. Obj. at pp. 8–9, 11.

       But none of these so-called demonstrations of diligence show diligence in

complying with the Scheduling Order in effect (ECF No. 41) as required under Rule 16.

Scheidecker, 193 F.R.D. at 631–32. Magistrate Judge Thorson said as much in her

Decision: “[b]ut what’s missing is you coming to the court promptly and being diligent,

not diligent in what you were doing in the background, but diligent in seeking an

amendment to the scheduling order.” Tr. at 12:21–24. Still, Magistrate Judge Thorson

explicitly considered Plaintiff’s excuses for delay (Obj. at p. 11–12) including “all of the[]

things that were happening in the background, whether it was discussion with plaintiff’s

counsel in another case, difficulty accessing their client, [or] wanting to pursue settlement

negotiation further[.]” (Tr. at 17:19–17:22). And she decided that Plaintiff, “had every

opportunity to reach out to the court and suggest a status conference to address th[es]

issue[s], file their motion with leave to do additional discovery or maybe [] an extension

of time” but Plaintiff didn’t, and as such, failed to satisfy “the test” for “exercising due

diligence.” Tr. at 17:22–18:3. Magistrate Judge Thorson’s decision was not erroneous in

this respect either.


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          B. Magistrate Judge Thorson’s Decision Is Neither Clearly Erroneous Nor
          Contrary To Law.

       Critically, Magistrate Judge Thorson did not misapply the law. She “substantially

evaluated” “Plaintiff’s arguments and “considered and found” them unpersuasive. Sobolik

v. Briggs & Stratton Corp., No. 09-1785, 2011 U.S. Dist. LEXIS 173262, at *5–6 (D.

Minn. Jan. 12, 2011) (overruling objection and affirming Magistrate Judge order).

Magistrate Judge Thorson correctly applied the good cause standard under Fed. R. Civ. P.

16(b)(4) because “plaintiff did not file h[er] motion for leave to file an amended complaint

until after the deadline expired.” Tr. at 22:25–23:8. She properly applied Eighth Circuit

law to determine “[t]he primary measure of good cause is the movant’s diligence in

attempting to meet the [scheduling] order’s requirements.” Tr. at 23:21-25.

       Additionally, Magistrate Judge Thorson cited relevant case law on the “exacting”

nature of the test for diligence to frame her analysis of the record. Id. at 24:1–3. During

the hearing Magistrate Judge Thorson even gave Plaintiff the opportunity to point to “any

cases within the Eighth Circuit that support[ed] [her] position” that a party “can delay

approaching the court to amend the scheduling order while settlement discussions are going

without informing the court” but Plaintiff was unable to do so. Tr. at 14:21–15:7.

       Ultimately, Magistrate Judge concluded that:

       Plaintiff has failed to establish good cause due to a lack of diligence in seeking to
       meet the deadlines before they expired or to come to the court immediately after
       April, when the answer was clear and they were prepared to [] file an amended
       complaint, but that was turned down [by State Farm]. And so [] there’s no finding
       of diligence. In fact, the court finds a lack of diligence to meet the deadline.




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Tr. at 28:7–14. Magistrate Judge Thorson’s Decision “was neither clearly erroneous, nor

contrary to law. Moreover, the record reveals that [s]he carefully and conscientiously

addressed each issue and made an appropriate exercise of discretion.” Bepex Intl, LLC

2022 U.S. Dist. LEXIS 101165, at *5. This Court cannot be “left with the definite and firm

conviction that a mistake has been committed” and should therefore overrule Plaintiff’s

Objection and affirm Magistrate Judge Thorson’s Decision. Chakales, 79 F.3d 728.

           C. Plaintiff Is Improperly Asking This Court To Conduct A De Novo
           Review.

       Plaintiff’s Objection is nothing more than an attempt to relitigate issues Magistrate

Judge Thorson already decided. “But District Court review of a Magistrate Judge’s

nondispositive orders is not a vehicle to reargue the merits of the underlying motion.”

Bepex Int’l, LLC, 2022 U.S. Dist. LEXIS 101165, at *5–6. Inexplicably, Plaintiff is trying

to use her Objection as supplemental briefing—which Magistrate Judge Thorson already

denied (Tr. at 15:8–9). For example, Plaintiff cites cases not previously cited in her briefing

(ECF No. 64). See, e.g., Obj. at pp. 10–12. And this Objection is the first time Plaintiff

identifies which specific sections of the Ngethpharat v. State Farm Mutual Automobile

Insurance Co., No. 2:20-cv-00454 (W.D. Wash. Mar. 25, 2020) (“Ngethpharat”) docket

were “unsealed” “[a]s recently as March 31, 2022” (ECF No. 64 at p. 16)4 and allegedly




       4
         Contrary to Plaintiff’s allegation that the Ngethpharat court’s “order denying in
part State Farm’s Motion to Dismiss” “was unsealed on March 31” 2022 (Obj. at p. 4), that
order, issued on November 9, 2020, was never sealed and what was unsealed on March 31,
2022 was an unrelated exhibit to a declaration in support of a motion to exclude.
Ngethpharat, ECF Nos. 49, 203, 206, 211.


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“bolstered Plaintiff’s counsel’s opinion that Plaintiff had a viable claim for application of

the typical negotiation adjustment.” Obj. at p. 4.

       Plaintiff’s improper attempts to strengthen the same arguments Magistrate Judge

Thorson already considered and rejected further evince Plaintiff’s desire to simply reargue

the merits of her Motion. Bepex International, LLC v. Hosokawa Micron, BV is instructive.

In Bepex International, LLC v. Hosokawa Micron, BV, the District Court overruled

plaintiff’s objection and affirmed the Magistrate Judge’s order on a motion to amend the

scheduling order because “through its Objections” plaintiff was “ask[ing] the Court” “not

[to] reverse [the Magistrate] Judge[‘s] [] order due to clear error, but to reweigh the factors

and grant [plaintiff] the relief it sought in its motion.” 2022 U.S. Dist. LEXIS 101165, at

*9. As a result, the court reasoned that “the standard of review for a Magistrate Judge’s

nondispositive order is extremely deferential, and the Court declines to engage in the de

novo review that [plaintiff] encourages.” Id. Similarly, this Court should adhere to the

proper standard of review in this context as prescribed by Fed. R. Civ. P. 72(a) and

L.R. 72.2(a)(3) and decline to engage in Plaintiff’s desired de novo review.

   2. THE COURT SHOULD ALSO OVERRULE PLAINTIFF’S OBJECTION
   BECAUSE MAGISTRATE JUDGE THORSON’S DECISION IS PLAUSIBLE IN
   LIGHT OF THE RECORD.

       Magistrate Judge Thorson’s Decision is more than plausible in light of the record. If

“the magistrate judge’s account of the evidence is plausible in light of the record viewed in

its entirety, the reviewing court may not reverse it even though had it been sitting as the trier

of fact, it would have weighed the evidence differently.” North Dakota v. Heydinger, No.

11-cv-3232, 2013 U.S. Dist. LEXIS 22277, at *10–11 (D. Minn. Feb. 15, 2013) (citing


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Anderson v. Bessemer City, 470 U.S. 564, 573-74 (1985)). Thus, even if this Court disagrees

with how Magistrate Judge Thorson weighed the various facts on the record and “things

going on in the background” in this case (Tr. at 26:1), it must still affirm her Decision so

long as her account of the evidence is “plausible.” Dobosenski v. CRST Van Expedited, Inc.,

No. 11-cv-2732, 2012 U.S. Dist. LEXIS 146351, at *4 (D. Minn. Oct. 11, 2012). When

viewed in its entirety, the record demonstrates that, as Magistrate Judge Thorson concluded,

Plaintiff failed to satisfy her burden of showing of good cause to amend and diligence under

Fed. R. Civ. P. 16(b)(4)’s stringent requirements. Tr. at 28:7–14. Her account of the

evidence is spot on.

       Indeed, Plaintiff admits the facts needed to evaluate her claims were acquired in

discovery on February 14, 2022—more than a month before the deadline to amend the

complaint. ECF No. 41. In her own words, Plaintiff’s “review of the [Market-Driven

Valuation] report” produced on February 14, 2022 “reveal[ed] that State Farm applied what

it referred to as a ‘typical negotiation adjustment’ to the value of the comparable vehicle.”

ECF No. 64 at pp. 8, 17; see also id. at pp. 15–16 (“It is only in reviewing those pages [of

the Market-Driven Valuation Report] that Plaintiff discovered the typical negotiation

adjustment applied to the valuation of her vehicle.”); Obj. at p. 4 (on “February 14, 2022,”

Plaintiff “learn[ed] that State Farm reduced the value of Plaintiff’s total-loss vehicle [by

applying a] typical negotiation adjustment.”). And Plaintiff sought leave to amend her

Complaint “to allege that State Farm underpaid her after her total loss by utilizing the

unsupportable, unfair, arbitrary, and capricious typical negotiation adjustment.” ECF No.

64 at p. 8.


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       Yet, Plaintiff did not seek to amend the Complaint before the court-ordered March

21, 2022 deadline passed. ECF No. 64 at pp. 15–16. Even if, as Plaintiff contends, her

“quick[] review” of State Farm’s production on February 14, 2022 prompted an

“evaluat[ion]” (Obj. at p. 4) or “investigat[ion] [of] a claim for typical negotiation

adjustments,” (ECF No. 64 at p. 16), she still could have moved to amend the Scheduling

Order at that time to give herself more time to decide whether “she would need to amend

her pleadings.” ECF No. 64 at p. 16. But she did not. Plaintiff had already sought that

exact relief twice before. Id.; ECF Nos. 28, 33. Before Plaintiff’s untimely Motion,

Plaintiff had not moved to extend any deadlines since January 19, 2022. ECF No. 33.

Further, Plaintiff waited more than four months to bring her Motion after she sent State

Farm a proposed amended Complaint asserting the same typical negotiation adjustment

claims. See ECF No. 65-5 at p. 1.

       Plaintiff failed to demonstrate diligence and good cause. Therefore, Magistrate

Judge Thorson’s account of the evidence and Decision to deny Plaintiff’s Motion are

plausible.

                                     CONCLUSION

       For all of the foregoing reasons, the Court should overrule Plaintiff’s Objection to

Magistrate Judge Thorson’s Order Denying Plaintiff’s Motion to Modify the First Amended

Pretrial Scheduling Order and Motion to Amend the Complaint and affirm Magistrate Judge

Thorson’s Decision.




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DATE: November 4, 2022
                            Respectfully submitted,

                            /s/ Jennifer R. Coates
                            Jennifer R. Coates (#0388959)
                            DORSEY & WHITNEY LLP
                            50 South Sixth Street, Suite 1500
                            Minneapolis, MN 55402-1498
                            Tel.: 612-492-5543
                            coates.jennifer@dorsey.com

                            Daniel F. Diffley (admitted pro hac vice)
                            Melissa G. Quintana (admitted pro hac vice)
                            ALSTON & BIRD LLP
                            1201 W. Peachtree Street
                            Atlanta, Georgia 30309
                            Tel.: 404-881-7000
                            dan.diffley@alston.com
                            melissa.quintana@alston.com

                            Attorneys for Defendant, State Farm Mutual
                            Automobile Insurance Company




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                             CERTIFICATE OF SERVICE

       I hereby certify that on this day I filed a true and correct copy of the within and

foregoing with the Clerk of Court using the Court’s CM/ECF system, which will

automatically send notification of such filings to all counsel of record.

This 4th day of November, 2022

                                              /s/ Jennifer R. Coates
                                               Jennifer R. Coates




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